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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

                                          Case No.
 TAMAKIA HERD, individually and on behalf
 of all others similarly situated,        CLASS ACTION COMPLAINT

                       Plaintiff,                   JURY TRIAL DEMANDED

        v.

 TRADER JOE’S COMPANY,

                       Defendant.


       Plaintiff Tamakia Herb, individually and on behalf of all others similarly situated, alleges

the following against Defendant Trader Joe’s Company (“Trader Joe’s” or “Defendant”) on

information and belief, except that Plaintiff’s allegations as to their own actions are based on

personal knowledge.

                                    NATURE OF THE ACTION

       1.      This action seeks to recover damages and injunctive relief for Defendant’s

continuing failure to disclose to consumers that certain Trader Joe’s dark chocolate products

(collectively, the “Products”), contain unsafe levels of lead and cadmium (collectively “Heavy

Metals”).

       2.      The Trader Joe’s Dark Chocolate Products in question are the Trader Joe’s “Dark

Chocolate 72% Cacao” bar and the Trader Joe’s “The Dark Chocolate Lover’s Chocolate 85%

Cacao” bar.

       3.      Dark chocolate is often touted as being a healthier alternative to milk chocolate,

however, a December 2022 report by Consumer Reports revealed that certain dark chocolate bars,

including the Products, had high enough levels of lead and cadmium that “eating just an ounce a




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day would put an adult over a level that public health authorities and [Consumer Reports’] experts

say may be harmful.” 1

       4.      Heavy Metals in foods pose a significant safety risk to consumers because they can

cause cancer and often irreversible damage to brain development as well as other serious health

problems.

       5.      As described more fully below, consumers who purchase the Products are injured

by Defendant’s acts and omissions concerning the presence (or risk) of Heavy Metals. No

reasonable consumer would know, or have reason to know, that the Products contain (or risk

containing) Heavy Metals. Worse, as companies across the industry have adopted methods to limit

heavy metals in their dark chocolates, Defendant has stood idly by with a reckless disregard for its

consumers’ health and well-being. As such, Plaintiff seeks relief in this action individually and as

a class action on behalf of all purchasers of the Products.

                                            PARTIES

       6.      Plaintiff Tamakia Herd is a resident of New York, and resides in the city of New

York. Plaintiff Herd has purchased both of Defendant’s Products and consumes about two bars of

dark chocolate a week. Typically, Plaintiff Herd purchases the Products from Trader Joe’s on

Columbus Avenue in New York, New York. Plaintiff Herd believed she was purchasing quality

and safe dark chocolate that did not contain (or risk containing) Heavy Metals. Had Defendant

disclosed on the label that the Products contained (or risked containing) unsafe toxic Heavy Metals,

Ms. Herd would have been aware of that fact and would not have purchased the Products or would

have paid less for them.



1
  Kevin Loria, Lead and Cadmium Could be in Your Dark Chocolate, CONSUMER REPORTS
(December 15, 2022), https://www.consumerreports.org/health/food-safety/lead-and-cadmium-
in-dark-chocolate-a8480295550/.


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       7.      Ms. Herd continues to desire to purchase the Products from Defendant. However,

Ms. Herd is unable to determine if the Products are actually safe. Ms. Herd understands that the

composition of the Products may change over time. But as long as Defendant continues to market

its Products as safe, she will be unable to make informed decisions about whether to purchase

Defendant’s Products and will be unable to evaluate the different prices between Defendant’s

Products and competitor’s Products. Ms. Herd is further likely to be repeatedly misled by

Defendant’s conduct, unless and until Defendant is compelled to ensure that the Products

marketed, labeled, packaged and sold as safe dark chocolate is, in fact, safe to consume.

       8.      Defendant Trader Joe’s is a California corporation with its headquarters in

Monrovia, California. Defendant manufactures, markets, and sells dark chocolate, including the

Products, throughout California and the United States. During the relevant period, Defendant

controlled the manufacture, design, testing, packaging, labeling, marketing, advertising,

promotion, distribution, and sales of its Products. Defendant therefore had complete control over

how to label its Products as to their contents.

                                 JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which, inter alia, amends 28

U.S.C. § 1332, at new subsection (d), conferring federal jurisdiction over class actions where, as

here: (a) there are 100 or more members in the proposed classes; (b) some members of the proposed

classes have a different citizenship from Defendant; and (c) the claims of the proposed class

members exceed the sum or value of five million dollars ($5,000,000) in aggregate. See 28 U.S.C.

§ 1332(d)(2) and (6).

       10.     This Court has personal jurisdiction over Defendant because Defendant conducts

significant business in New York such that it has purposefully availed itself of the privilege of



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doing business in New York.

       11.     Venue is proper in this Court under 28 U.S.C. § 1391 because Defendant transacts

significant business within this District, at least one Plaintiff resides within this District, and a

substantial part of the events giving rise to Plaintiff’s claims took place within this District.

                     FACTS COMMON TO ALL CAUSES OF ACTION

I.     LEAD AND CADMIUM ARE TOXIC

       12.     Lead and cadmium are heavy metals. As described more fully below, the harmful

effects of heavy metals are well-documented, particularly on children. Exposure puts children at

risk for lowered IQ, behavioral problems (such as attention deficit hyperactivity disorder), type 2

diabetes, and cancer, among other health issues. Heavy metals also pose risks to adults. Even

modest amounts of heavy metals can increase the risk of cancer, cognitive and reproductive

problems, and other adverse conditions. As such, it is important to limit exposure.

       13.     “No amount of lead is known to be safe.” 2 Exposure to lead may cause anemia,

weakness, and kidney and brain damage. 3 Lead can affect almost every organ and system in the

body. Lead accumulates in the body over time, and can lead to health risks and toxicity, including

inhibiting neurological function, anemia, kidney damage, seizures, and in extreme cases, coma and

death. Lead can also cross the fetal barrier during pregnancy, exposing the mother and developing

fetus to serious risks, including reduced growth and premature birth. Lead exposure is also harmful

to adults as more than 90 percent of the total body burden of lead is accumulated in the bones,




2
  See https://www.npr.org/sections/thetwo-way/2016/08/13/489825051/lead-levels-below-epa-
limits-can-still-impact-your-health (last accessed June 22, 2022).
3
  Centers for Disease Control and Prevention, “Health Problems Caused by Lead,” The National
Institute for Occupational Safety and Health (NIOSH),
https://www.cdc.gov/niosh/topics/lead/health.html#:~:text=Exposure%20to%20high%20levels%
20of,a%20developing%20baby's%20nervous%20system. (last accessed June 22, 2022).


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where it is stored. Lead in bones may be released into the blood, re-exposing organ systems long

after the original exposure. 4

         14.    Cadmium is similarly harmful. “[A]ny cadmium exposure should be avoided.” 5

Exposure to cadmium may lead to damage to kidneys, lungs, and bones. 6 “Even relatively low

chronic exposure can cause irreversible renal tubule damage, potentially progressing to glomerular

damage and kidney failure” and “bone loss often is seen in concert with these effects.” 7 This metal

is also known to cause cancer and targets the body’s cardiovascular, renal, gastrointestinal,

neurological, reproductive, and respiratory systems. 8

II.      DEFENDANT’S PRODUCTS CONTAIN TOXIC LEAD AND CADMIUM

         15.    In December of 2022, Consumer Reports published a report titled “Lead and

Cadmium Could Be in Your Dark Chocolate.” The report detailed the results of Consumer

Reports’ testing of various dark chocolates for lead and cadmium. To determine the risk posed by

the chocolates in the test, Consumer Reports measured the chocolates with reference to

California’s maximum allowable dose level (MADL) for lead (0.5 micrograms) and cadmium (4.1

micrograms).

         16.    Consumer Reports analyzed 28 different bars.



4
 State of New York Department of Health, “Lead Exposure in Adults: A Guide for Health Care
Providers,” https://www.health.ny.gov/publications/2584.pdf (last accessed June 22, 2022).
5
 M. Nathaniel Mead, “Cadmium Confusion: Do Consumers Need Protection,” Environ Health
Perspect. 2010 Dec; 118(12): A528-A534,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3002210/ (last accessed June 22, 2022).
6
 See Agency for Toxic Substances and Disease Registry, “ToxFAQs for Cadmium,” Toxic
Substances Portal,
https://wwwn.cdc.gov/TSP/ToxFAQs/ToxFAQsDetails.aspx?faqid=47&toxid=15 (last accessed
June 22, 2022).
7
    Mead, supra note 8.
8
 See Occupational Safety & Health, “Cadmium,” https://www.osha.gov/cadmium (last accessed
June 22, 2022).


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           17.   Consumer Reports determined that “[f]or 23 of the bars, eating just an ounce a day

would put an adult over a level that public health authorities and CR’s experts say may be harmful

for at least one of those heavy metals. Five of the bars were above those levels for both cadmium

and lead.” 9

           18.   Trader Joe’s “The Dark Chocolate Lover’s 85% Dark Chocolate” bar was one of

those five bars with harmful quantities of both Heavy Metals.

           19.   The 72% Dark Chocolate bar does not have elevated levels of cadmium, but it does

have extremely high levels of lead.

           20.   With regard to the results, Tunde Akinleye, a food safety researcher at Consumer

Reports who led the project, remarked that “the danger is greatest for pregnant people and young

children because the metals can cause developmental problems … but there are risks for people of

any age” because frequent exposure to lead can lead to nervous system problems, hypertension,

immune system suppression, kidney damage, and reproductive issues. 10

           21.   While lead and cadmium can be found in many food sources, the Trader Joe’s

Products, on their own, expose consumers to 127-192% of the MADL for lead in a one ounce

serving. The Dark Chocolate Lover’s bar also exposes consumers to 229% of the MADL for

cadmium in just a single one ounce serving. 11

           22.   Chocolate is made from the cacao bean, which has two main components: cocoa

solids and cocoa butter. Together, these are called cacao or cocoa.




9
    Loria, supra note 1.
10
     Id.
11
     Id.


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           23.   Dark chocolate, rather than milk chocolate, was the subject of these tests because

dark chocolate has a higher percentage of cacao, at least 65 percent cacao by weight, which is

where the Heavy Metals lurk.

           24.   These Heavy Metals have made their way into the cacao in two ways: cadmium is

taken up through the soil by the cacao plant as it grows, while lead is found typically on the outer

shell of cacao beans after they are harvested.

           25.   However, this does not mean that lead and cadmium exposure is inevitable when

consuming dark chocolate. As Consumer Reports noted, five of the 28 chocolate bars tested were

below the MADL for both cadmium and lead, proving that “it’s possible for companies to make

products with lower amounts of heavy metals—and for consumers to find safer products that they

enjoy.” 12

           26.   Instead of adequately testing its Products like its competitors, Defendant chose to

ignore the health of the consuming public in pursuit of profit.

III.       THE PRESENCE (OR RISK) OF TOXIC HEAVY METALS IN DEFENDANT’S
           PRODUCTS FAR EXCEEDS EXPECTATIONS OF REASONABLE CONSUMERS

           27.   According to Verified Market Research, the dark chocolate market was valued at

$56.09 billion in 2021 and is expected to grow to $114.62 billion by 2030. 13 Indeed, “[g]rowing

health benefits associated with cocoa-rich dark chocolates, rising demand for premium dark

chocolates as gifts, players introducing more limited-edition seasonal chocolates, increasing online

sales, and expanding marketing initiatives are expected to drive the global Dark Chocolate Market




12
     Id.
13
   Dark Chocolate Market Size and Forecast, VERIFIED MARKET RESEARCH (May 2022),
https://www.verifiedmarketresearch.com/product/global-dark-chocolate-
market/#:~:text=Dark%20Chocolate%20Market%20was%20valued,8.28%25%20from%202022
%20to%202030 (last accessed January 03, 2023).


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during the forecast period.” 14

          28.    What’s more, up to 15% of consumers eat dark chocolate on a daily basis. 15

          29.    Given the negative effects of toxic heavy metals (such as lead and cadmium) on

child development and adult health, the presence of these substances in dark chocolate is a material

fact to reasonable consumers, including Plaintiff and members of the Class.

          30.    This is not the first time that Defendant has been alerted to the fact that its Products

contain unsafe levels of cadmium and lead.

          31.    In 2014 Defendant’s products were tested by a consumer advocacy group and

Defendant was informed that its dark chocolate products had dangerously high levels of cadmium

and lead, a subject of concern for the group and for consumers at large.

          32.    As such, Defendant knows that the presence (or risk) of toxic Heavy Metals in its

Products is a material fact to reasonable consumers, including Plaintiff and the Class members.

          33.    Food sellers (such as Defendant) hold a position of public trust. Consumers believe

that they would not sell products that are contaminated with unsafe levels of heavy metals.

          34.    Trader Joe’s is a uniquely consumer-oriented grocery chain. Every decision that it

makes places the consumer experience in the store at the forefront. The hand-drawn signs which

dot the store, the carefully designed freezer aisle which has no large doors, the friendly employees

in Hawaiian shirts – all designed for the customer to enjoy their purchasing experience. What’s

more, Defendant deliberately curates the products offered on the shelves and keeps the variety of

products offered to a minimum.

          35.    Trader Joe’s has also long maintained an image of catering to health-conscious

consumers. Indeed, a 2015 survey found that the top “unique benefit” offered by Trader Joe’s to



15
     Loria, supra Note 1.


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consumers was “healthy and organic food.” 16

       36.     Accordingly, consumers trust that the limited selection of foods offered by

Defendant have been vetted for their safety for human consumption.

       37.     Defendant knew that if the presence (or risk) of toxic Heavy Metals in its Products

was disclosed to Plaintiff and the Class members, then Plaintiff and the Class members would be

unwilling to purchase them or would pay less for them.

       38.      In light of Defendant’s knowledge that Plaintiff and the Class members would be

unwilling to purchase the Products or would pay less for the Products if they knew that they

contained (or risked containing) toxic Heavy Metals, Defendant intentionally and knowingly

concealed this fact from Plaintiff and the Class members and did not disclose the presence (or risk)

of these toxic Heavy Metals on the labels of the Products.

       39.     Defendant knew or should have known that Plaintiff and the Class members would

rely upon the packages of the Products and intended for them to do so, but failed to disclose the

presence (or risk) of Heavy Metals.

       40.     Defendant knew or should have known that it owed consumers a duty of care to

adequately test for Heavy Metals in the Products, which it failed to do.

       41.     Additionally, Defendant knew or should have been aware that a reasonable

consumer could consume a one ounce serving of the Product daily, leading to repeated exposure

to the Heavy Metals at unsafe levels.

       42.     As such, Defendant has a duty to disclose that consumption of the Products could

expose consumers to high levels of the toxic Heavy Metals.


16
  New iModerate Study Reveals Differing Perceptions of Trader Joe’s and Whole Foods,
PRWEB (October 28, 2015), https://www.prweb.com/releases/grocery-brands-
research/traderjoes-vs-wholefoods/prweb13045722.htm (last accessed January 03, 2023).




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       43.      Defendant knew or should have known it could control the levels of Heavy Metals

in the Products by properly monitoring the ingredients for Heavy Metals and adjusting any

cultivation practices to reduce or eliminate the high levels of Heavy Metals.

       44.      It is reasonable to assert that Defendant knew or should have known it could control

the levels of Heavy Metals in its Products because there are other chocolate manufacturers who

have been able to produce dark chocolate with significantly less cadmium and lead than

Defendant’s Products.

       45.      Prior to purchasing the Products, Plaintiff and the Class members were exposed to,

saw, read, and understood Defendant’s labels, and relied upon them in purchasing the Products,

but Defendant failed to disclose the presence (or risk) of Heavy Metals.

       46.      As a result of Defendant’s concealment of the fact that the Products contained toxic

Heavy Metals, Plaintiff and the Class members reasonably believed that Defendant’s Products

were free from substances that would negatively affect children’s development as well as their

own health.

       47.      In reliance upon Defendant’s labels that contained omissions, Plaintiff and the

Class members purchased Defendant’s Products.

       48.      Had Plaintiff and the Class members known the truth—i.e., that the Products

contained (or risked containing) toxic Heavy Metals, rendering them unsafe for consumption by

children and adults—they would not have been willing to purchase them or would have paid less

for them.

       49.      Therefore, as a direct and proximate result of Defendant’s omissions concerning

the Products, Plaintiff and the Class members purchased the Products.

       50.      Plaintiff and the Class members were harmed in the form of the monies they paid

for the Products which they would not otherwise have paid had they known the truth about the



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Products. Since the presence (or risk) of toxic Heavy Metals in the Products renders them unsafe

for human consumption, the Products that Plaintiff and the Class members purchased are worthless

or are worth less than Plaintiff and the Class paid for them. What’s more, there are other dark

chocolate products on the market which contain significantly lower levels of cadmium and lead

than Defendant’s Products, meaning that there are safer alternatives to Defendant’s Products.

       51.     The Products’ labels are materially deceptive, false and misleading given

Defendant’s omission about the presence (or risk) of Heavy Metals as described above.

                             FED. R. CIV. P. 9(b) ALLEGATIONS

       52.     Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n alleging fraud

or mistake, a party must state with particularity the circumstances constituting fraud or mistake.”

To the extent necessary, as detailed in the paragraphs above and below, Plaintiff has satisfied the

requirements of Rule 9(b) by establishing the following elements with sufficient particularity.

       53.     WHO: Defendant made material omissions of fact in its packaging of the Products

by omitting the presence (or risk) of significant amounts of unsafe Heavy Metals.

       54.     WHAT: Defendant’s conduct was and continues to be fraudulent and deceptive

because it has the effect of deceiving consumers into believing that the Products do not contain (or

risk containing) significant amounts of Heavy Metals. Defendant omitted from Plaintiff and Class

members that the Products contain (or risk containing) Heavy Metals. Defendant knew or should

have known this information is material to all reasonable consumers and impacts consumers’

purchasing decisions. Yet, Defendant has omitted from the Products’ labeling the fact that they

contain (or risk containing) Heavy Metals.

       55.     WHEN: Defendant omitted from the Products’ labeling the fact that the Products

contain (or risk containing) significant amounts of unsafe Heavy Metals, continuously throughout

the applicable relevant periods, including at the point of sale.



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       56.      WHERE: Defendant’s omissions were made on the front labeling and packaging

of the Products and were thus viewed by every purchaser, including Plaintiff, at the point of sale

in every transaction. The Products are sold in brick-and-mortar stores and online stores nationwide.

       57.      HOW: Defendant omitted from the Products’ labeling the fact that they contain (or

risk containing) Heavy Metals. And as discussed in detail throughout this Complaint, Plaintiff and

Class members read and relied on Defendant’s front-label omissions before purchasing the

Products.

       58.      WHY: Defendant omitted from the Products’ labeling the fact that they contain (or

risk containing) Heavy Metals for the express purpose of inducing Plaintiff and Class members to

purchase the Products at a substantial price premium or more than they would have paid had they

known the truth about the Products. As such, Defendant profited by selling the Products to at least

thousands of consumers throughout the nation, including Plaintiff and the Class members.

                               CLASS ACTION ALLEGATIONS

       59.      Plaintiff brings this action individually and on behalf of all other persons similarly

situated pursuant to Federal Rule of Civil Procedure 23. The class definition(s) may depend on the

information obtained throughout discovery. Notwithstanding, at this time, Plaintiff brings this

action and seek certification of the following proposed classes (collectively, the Classes):

                 Class: All persons within the United States who purchased the
                 Products from the beginning of any applicable limitations period
                 through the date of judgment.

       60.      Plaintiff Herd also bring this action on behalf of the following Subclass:

                 New York Subclass: All persons who purchased the Products in
                 the State of New York from the beginning of any applicable
                 limitations period through the date of judgment.

       61.      Excluded from the proposed Classes are the Defendant, and any entities in which

the Defendant has controlling interest, the Defendant’s agents, employees and its legal



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representatives, any Judge to whom this action is assigned and any member of such Judge’s staff

and immediate family, and all resellers of the Products.

       62.      Plaintiff reserves the right to amend the definition of the Classes if discovery or

further investigation reveals that the Classes should be expanded or otherwise modified.

       63.      Plaintiff further reserves the right to amend the above class definition as appropriate

after further investigation and discovery, including by seeking to certify a narrower multi-state

class (or classes) in lieu of a nationwide class if appropriate.

       64.      Numerosity – Federal Rule of Civil Procedure 23(a)(1). At this time, Plaintiff

does not know the exact number of members of the Classes; however, given the nature of the

claims and the number of retail stores in the United States selling the Products, Plaintiff believes

that the Class members are so numerous that joinder of all members is impracticable. While the

exact number of Class members remains unknown at this time, upon information and belief, there

are thousands, if not hundreds of thousands, of putative Class members. Moreover, the number of

members of the Classes may be ascertained from Defendant’s books and records. Class members

may be notified of the pendency of this action by mail and/or electronic mail or other appropriate

digital means, which can be supplemented if deemed necessary or appropriate by the Court with

published notice.

       65.      Predominance of Common Questions of Law and Fact – Federal Rule of Civil

Procedure 23(a)(2) and 23(b)(3). There is a well-defined community of interest in the questions

of law and fact involved in this case. Questions of law and fact common to the members of the

Classes that predominate over questions that may affect individual Class members include:

             a. whether the Products contain toxic Heavy Metals;

             b. whether Defendant’s conduct is unethical, oppressive, unscrupulous, and/or

                substantially injurious to consumers;



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             c. whether the amount of toxic Heavy Metals in the Products is material to a

                reasonable consumer;

             d. whether Defendant had a duty to disclose that its Products had toxic Heavy Metals;

             e. whether Plaintiff and members of the Classes are entitled to injunctive and other

                equitable relief;

             f. whether Defendant failed to disclose material facts concerning the Products;

             g. whether Defendant’s conduct was unfair and/or deceptive;

             h. whether Defendant has been unjustly enriched as a result of the unlawful,

                fraudulent, and unfair conduct alleged in this Complaint such that it would be

                inequitable for Defendant to retain the benefits conferred upon Defendant by

                Plaintiff and the Class members;

             i. whether Defendant violated New York consumer protection and deceptive practice

                statutes and are entitled to restitution and/or damages under such state statutes; and

             j. whether Plaintiff and the Class members have sustained damages with respect to

                the common-law claims asserted, and if so, the proper measure of their damages.

       66.      Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of those of the Class members because Plaintiff, like other Class members, purchased, in a

typical consumer setting, the Products and Plaintiff sustained damages from Defendant’s wrongful

conduct.

       67.      Adequacy – Federal Rule of Civil Procedure 23(a)(4). Plaintiff will fairly and

adequately protect the interests of the Class members and have retained counsel that is experienced

in litigating complex class actions. Plaintiff has no interests which conflict with those of the

Classes.




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       68.      Insufficiency of Separate Actions – Federal Rule of Civil Procedure 23(b)(1).

Absent a class action, Plaintiff and members of the Classes will continue to suffer the harm

described herein, for which they would have no remedy. Even if separate actions could be brought

by individual consumers, the resulting multiplicity of lawsuits would cause undue burden and

expense for both the Court and the litigants, as well as create a risk of inconsistent rulings and

adjudications that might be dispositive of the interests of similarly situated consumers,

substantially impeding their ability to protect their interests, while establishing incompatible

standards of conduct for Defendant.

       69.      Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

Defendant has acted or refused to act on grounds generally applicable to Plaintiff and the other

members of the Classes, thereby making appropriate final injunctive relief and declaratory relief,

as described below, with respect to the members of the Classes as a whole. In particular, Plaintiff

seek to certify the Classes to enjoin Defendant from selling or otherwise distributing the Products

until such time that Defendant can demonstrate to the Court’s satisfaction that the Products are

accurately labeled. The prerequisites to maintaining a class action for equitable relief are met as

Defendant has acted or refused to act on grounds generally applicable to the Classes, thereby

making appropriate equitable relief with respect to the Classes as a whole.

       70.      Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is superior

to any other available methods for the fair and efficient adjudication of the present controversy for

at least the following reasons:

             a. The damages suffered by each individual members of the putative Classes do not

                justify the burden and expense of individual prosecution of the complex and

                extensive litigation necessitated by Defendant’s conduct;




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 b. Even if individual members of the Classes had the resources to pursue individual

    litigation, it would be unduly burdensome to the courts in which the individual

    litigation would proceed;

 c. The claims presented in this case predominate over any questions of law or fact

    affecting individual members of the Classes;

 d. Individual joinder of all members of the Classes is impracticable;

 e. Absent a Class, Plaintiff and members of the putative Classes will continue to suffer

    harm as a result of Defendant’s unlawful conduct; and

 f. This action presents no difficulty that would impede its management by the Court

    as a class action, which is the best available means by which Plaintiff and members

    of the putative Classes can seek redress for the harm caused by Defendant.

 g. In the alternative, the Classes may be certified for the following reasons:

         i.   The prosecution of separate actions by individual members of the Classes

              would create a risk of inconsistent or varying adjudication with respect to

              individual members of the Classes, which would establish incompatible

              standards of conduct for Defendant;

        ii.   Adjudications of claims of the individual members of the Classes against

              Defendant would, as a practical matter, be dispositive of the interests of

              other members of the putative Classes who are not parties to the

              adjudication and may substantially impair or impede the ability of other

              putative Class members to protect their interests; and

       iii.   Defendant has acted or refused to act on grounds generally applicable to

              the members of the putative Classes, thereby making appropriate final and

              injunctive relief with respect to the putative Classes as a whole.



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                                      CAUSES OF ACTION

                                         FIRST COUNT
                                        Unjust Enrichment

        71.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as if

fully stated herein.

        72.     Plaintiff brings this claim individually and on behalf of the members of the Classes

against Defendant under the laws of New York.

        73.     Plaintiff and the Class members conferred a benefit on Defendant in the form of the

gross revenues Defendant derived from the money they paid to Defendant.

        74.     Defendant had an appreciation or knowledge of the benefit conferred on it by

Plaintiff and the Class members.

        75.     Defendant has been unjustly enriched in retaining the revenues derived from

Plaintiff and the Class members’ purchases of the Products, which retention of such revenues under

these circumstances is unjust and inequitable because Defendant omitted that the Products

contained (or risked containing) toxic Heavy Metals. This caused injuries to Plaintiff and members

of the Classes because they would not have purchased the Products or would have paid less for

them if the true facts concerning the Products had been known.

        76.     Defendant accepted and retained the benefit in the amount of the gross revenues it

derived from sales of the Products to Plaintiff and the Class members.

        77.     Defendant has thereby profited by retaining the benefit under circumstances which

would make it unjust for Defendant to retain the benefit.

        78.     Plaintiff and the Class members are, therefore, entitled to restitution in the form of

the revenues derived from Defendant’s sale of the Products.

        79.     As a direct and proximate result of Defendant’s actions, Plaintiff and Class

members have suffered in an amount to be proven at trial.


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         80.     Here, equitable relief is appropriate because Plaintiff may lack an adequate remedy

at law if, for instance, damages resulting from their purchase of the Product is determined to be an

amount less than the premium price of the Product. Without compensation for the full premium

price of the Product, Plaintiff would be left without the parity in purchasing power to which they

are entitled.

         81.     Injunctive relief is also appropriate, and indeed necessary, to require Defendant to

provide full and accurate disclosures regarding the Product so that Plaintiff and Class members can

reasonably rely on Defendant’s packaging as well as those of Defendant’s competitors who may

then have an incentive to follow Defendant’s deceptive practices, further misleading consumers.

         82.     Restitution may also be more certain, prompt, and efficient than other legal

remedies requested herein. The return of the full premium price will ensure that Plaintiff are in the

same place they would have been in had Defendant’s wrongful conduct not occurred, i.e., in the

position to make an informed decision about the purchase of the Products absent omissions with

the full purchase price at their disposal.

                                       SECOND COUNT
                      Violation of New York’s General Business Law § 349

         83.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations

contained in all preceding paragraphs of this complaint.

         84.     Plaintiff brings this claim individually and on behalf of the Members of the

proposed New York Subclass against Defendant.

         85.     Defendant committed deceptive acts and practices by employing false, misleading,

and deceptive representations and/or omissions about the presence (or potential presence) of toxic

heavy metals in its Products.

         86.     Information as to the heavy metal content of each of its dark chocolate Products

was in Defendant’s exclusive control. Plaintiff Herd could not possibly have known that the


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Products at issue contained toxic Heavy Metals because such information was not available to the

public until late 2022.

        87.     Plaintiff has standing to pursue this claim because she has suffered an injury-in-fact

and has lost money or property as a result of Defendant’s deceptive acts and practices. Specifically,

Plaintiff Herd repeatedly purchased both of Defendant’s Products. In doing so, Plaintiff Herd relied

upon Defendants’ false, misleading, and deceptive representations that the Products were fit for

human consumption and did not contain significantly elevated concentrations of lead or cadmium.

Plaintiff Herd spent money in the transaction that she otherwise would not have spent had she

known the truth about Defendant’s Products.

        88.     Defendant’s deceptive acts and practices were directed at consumers.

        89.     Defendant’s deceptive acts and practices are misleading in a material way because

they violate consumers’ reasonable expectations. Defendant knew consumers would purchase its

Products and/or pay more for them under the false – but reasonable – belief that they were safe to

consume regularly and did not contain significantly elevated levels of toxic Heavy Metals.

        90.     Defendant knows that health information about its food products is material to

consumers. If such information were not material, consumers would not identify the top unique

benefit of visiting Defendant’s locations as its “healthy and organic foods.” As a result of its

deceptive acts and practices, Defendant sold tens if not hundreds of thousands of dark chocolate

Products to unsuspecting consumers across New York.

        91.     If Defendant had advertised the Products truthfully and in a non-misleading

fashion, Plaintiff and other New York Subclass Members would not have purchased them or would

not have paid as much as they did for them.

        92.     As a direct and proximate result of Defendants’ false, misleading, and deceptive

representations and/or omissions, Plaintiff Herd and other Members of the New York Subclass were



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injured in that they: (1) paid money for dark chocolate Products that were not what Defendants

represented; (2) were deprived of the benefit of the bargain because the Products they purchased

were different than Defendant advertised; and (3) were deprived of the benefit of the bargain

because the dark chocolate Products they purchased had less value than if Defendant had adequately

disclosed the presence of heavy metals in them.

        93.     On behalf of herself and Members of the New York Subclass, Plaintiff Herd seeks

to enjoin Defendant’s unlawful acts and practices and recover her actual damages or fifty (50)

dollars, whichever is greater, three times actual damages, and reasonable attorneys’ fees.

                                      THIRD COUNT
                     Violation of New York’s General Business Law § 350

        94.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations

contained in all preceding paragraphs of this complaint.

        95.     Plaintiff brings this claim individually and on behalf of the Members of the

proposed New York Subclass against Defendant.

        96.     Defendant engaged in a campaign of false advertising with regard to the safety and

heavy metal content of its dark chocolate Products to mislead consumers into believing that the

Products were safe for human consumption and did not contain high levels of heavy metals, namely

lead and cadmium.

        97.     Plaintiff has standing to pursue this claim because she has suffered an injury-in-fact

and has lost money or property as a result of Defendant’s deceptive acts and practices. Specifically,

Plaintiff Herd repeatedly purchased both of Defendant’s Products. In doing so, Plaintiff Herd relied

upon Defendants’ false, misleading, and deceptive representations that the Products were fit for

human consumption and did not contain significantly elevated concentrations of lead or cadmium.

Plaintiff Herd spent money in the transaction that she otherwise would not have spent had she

known the truth about Defendant’s Products.


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        98.     Defendant’s deceptive acts and practices were directed at consumers.

        99.     Defendant’s deceptive acts and practices are misleading in a material way because

they violate consumers’ reasonable expectations. Defendant knew consumers would purchase its

Products and/or pay more for them under the false – but reasonable – belief that they were safe to

consume regularly and did not contain significantly elevated levels of toxic Heavy Metals.

        100.    Defendant knows that health information about its food products is material to

consumers. If such information were not material, consumers would not identify the top unique

benefit of visiting Defendant’s locations as its “healthy and organic foods.” As a result of its

deceptive acts and practices, Defendant sold tens if not hundreds of thousands of dark chocolate

Products to unsuspecting consumers across New York.

        101.    If Defendant had advertised the Products truthfully and in a non-misleading

fashion, Plaintiff and other New York Subclass Members would not have purchased them or would

not have paid as much as they did for them.

        102.    As a direct and proximate result of Defendants’ false, misleading, and deceptive

representations and/or omissions, Plaintiff Herd and other Members of the New York Subclass were

injured in that they: (1) paid money for dark chocolate Products that were not what Defendants

represented; (2) were deprived of the benefit of the bargain because the Products they purchased

were different than Defendant advertised; and (3) were deprived of the benefit of the bargain

because the dark chocolate Products they purchased had less value than if Defendant had adequately

disclosed the presence of heavy metals in them.

        103.    On behalf of herself and Members of the New York Subclass, Plaintiff Herd seeks

to enjoin Defendant’s unlawful acts and practices and recover her actual damages or fifty (50)

dollars, whichever is greater, three times actual damages, and reasonable attorneys’ fees.




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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff and all

members of the proposed Classes the following relief against Defendant:

          a. That the Court certify the Classes under Rule 23 of the Federal Rules of Civil

              Procedure, appoint Plaintiff as the Class Representative, and appoint Plaintiff’s

              attorneys as Class Counsel to represent the members of the Classes;

          b. That the Court declare that Defendant’s conduct violates the statutes referenced

              herein;

          c. That the Court preliminarily and permanently enjoin Defendant from conducting

              business through the unlawful, unfair, or fraudulent business acts or practices,

              untrue, and misleading labeling and marketing and other violations of law described

              in this Complaint;

          d. That the Court order preliminary and injunctive relief requiring Defendant to

              disclose that the Products contain toxic Heavy Metals;

          e. That the Court order Defendant to implement whatever measures are necessary to

              remedy the unlawful, unfair, or fraudulent business acts or practices, untrue and

              misleading advertising, and other violations of law described in this Complaint;

          f. That the Court order Defendant to notify each and every individual who purchased

              the Products of the pendency of the claims in this action to give such individuals an

              opportunity to obtain restitution from Defendant;

          g. For an award of compensatory damages, the amount of which is to be determined

              at trial;

          h. For punitive damages;

          i. That the Court grant Plaintiff reasonable attorneys’ fees and costs of suit; and



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            j. That the Court grant such other and further relief as may be just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable of right.

Dated: January 4, 2023                           Respectfully submitted,

                                                 BURSOR & FISHER, P.A.

                                                 By:      /s/ Max S. Roberts

                                                 Max S. Roberts, Esq.
                                                 888 Seventh Avenue
                                                 New York, NY 10019
                                                 Telephone: (646) 837-7150
                                                 Facsimile: (212) 989-9163
                                                 Email: mroberts@bursor.com

                                                 BURSOR & FISHER, P.A.
                                                 L. Timothy Fisher (pro hac vice forthcoming)
                                                 Sean L. Litteral (pro hac vice forthcoming)
                                                 1990 North California Blvd., Suite 940
                                                 Walnut Creek, CA 94596
                                                 Telephone: (925) 300-4455
                                                 Facsimile: (925) 407-2700
                                                 Email: ltfisher@bursor.com
                                                 slitteral@bursor.com

                                                 LAUKAITIS LAW FIRM LLC
                                                 Kevin Laukaitis
                                                 737 Bainbridge Street, #155
                                                 Philadelphia, PA 19147
                                                 Phone: (215) 789-4462
                                                 Email: klaukaitis@laukaitislaw.com

                                                 Attorneys for Plaintiff




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